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     Attorneys for Defendant
12   CARL FERRER
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14
                                UNITED STATES DISTRICT COURT
15                               FOR THE DISTRICT OF ARIZONA
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     United States of America,               CASE NO. CR-18-422-PHX-DJH
18
                   Plaintiff,                DECLARATION OF JONATHAN
19                                           BAUM IN SUPPORT OF MOVANT
20          v.                               CARL FERRER’S MOTION FOR A
                                             PROTECTIVE ORDER
21   Michael Lacey, et al.,
22
                   Defendants.               [Filed concurrently herewith Movant Carl
23                                           Ferrer’s Motion for A Protective Order]
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                                 1          CASE NO. CR-18-422-PHX-DJH
         DECLARATION OF JONATHAN BAUM IN SUPPORT OF MOVANT CARL
                 FERRER’S MOTION FOR A PROTECTIVE ORDER
         Case 2:18-cr-00422-DJH Document 1826 Filed 10/03/23 Page 2 of 3




 1          I, Jonathan M. Baum, hereby declare:
 2          1.     I am a partner with Steptoe & Johnson LLP, counsel for
 3   Movant Carl Ferrer in this action. I have personal knowledge of the facts contained
 4   herein and, if called, I could testify competently to them.
 5          2.     James Grant of Davis Wright Tremaine LLP served as Mr. Ferrer’s
 6   personal counsel in the criminal case filed against him in Sacramento County, California.
 7   Attached hereto as Exhibit A is a true and accurate copy of the title page of a Sacramento
 8   Superior Court Criminal Pleading where Grant is identified as “Counsel for Defendants
 9   Carl Ferrer, Michael Lacey and James Larkin.”
10
11          I declare under penalty of perjury under the laws of the United States of America
12   that the foregoing is true and correct.
13
14          Executed in Washington, D.C. on October 3, 2023.
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16                                              /s/ Jonathan M. Baum
                                                Jonathan M. Baum
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                                 2          CASE NO. CR-18-422-PHX-DJH
         DECLARATION OF JONATHAN BAUM IN SUPPORT OF MOVANT CARL
                 FERRER’S MOTION FOR A PROTECTIVE ORDER
         Case 2:18-cr-00422-DJH Document 1826 Filed 10/03/23 Page 3 of 3




 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on October 3, 2023, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6
 7                                             /s/ Debbie DeRivero
                                               Debbie DeRivero
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                                 3          CASE NO. CR-18-422-PHX-DJH
         DECLARATION OF JONATHAN BAUM IN SUPPORT OF MOVANT CARL
                 FERRER’S MOTION FOR A PROTECTIVE ORDER
